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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA

Michael L. Barnes Jr.,                        Court File No. 15-cv-00029 MJD/JJK
                              Plaintiff,
       vs.                                     FIRST AMENDED COMPLAINT

City of Minneapolis and
Peter Stanton,
                           Defendants.

                                    PARTIES

      1.     Plaintiff is an adult male who currently resides and has resided in

Minneapolis, Minnesota at all times relevant to this action.

      2.     Defendant Peter Stanton is an adult male who at all times relevant

to the allegations set forth in this Complaint was acting under the color of state

law in his capacity as a law enforcement officer employed by the City of

Minneapolis, Minnesota. Plaintiff is suing him in his individual capacity.

      3.     Defendant City of Minneapolis is a political subdivision of the State

of Minnesota. Minneapolis employed defendants Peter Stanton as a police

officer at all times relevant to this action. Minneapolis is sued directly and

also, on all relevant claims, on the theories of respondeat superior or vicarious

liability and pursuant to Minn. Stat. § 466.02 for the unlawful conduct of

Officer Peter Stanton. Minneapolis is a political subdivision charged with

training and supervising law enforcement officers. Minneapolis has established

and implemented, or delegated the responsibility for establishing and

implementing, policies, practices, procedures, and customs used by law
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enforcement officers employed by Minneapolis regarding seizures and the use

of force. Minneapolis is therefore also being sued directly pursuant to Monell v.

Dept. of Soc. Svcs., 436 U.S. 658 (1978).

                                 JURISDICTION

      4.    This is an action for monetary and declaratory relief under 42

U.S.C. §§ 1983 and 1988 and federal and state common law. This Court has

jurisdiction over the matter pursuant to 28 U.S.C. §§ 1343(a)(3), 1331, and

1367. Venue is proper in this district pursuant to 28 U.S.C. § 1391, as the

events giving rise to this action occurred in this district and, on information

and belief, Defendants reside in this district.

                            GENERAL ALLEGATIONS

      5.    On January 4, 2013, Minneapolis police officer Scott Creighton

applied for a warrant to search the upstairs unit at 2411 Golden Valley Road,

Minneapolis, Minnesota 55411.

      6.    Hennepin County District Court Judge Dennis J. Murphy found

that probable cause existed and issued the search warrant for which Officer

Creighton applied.

      7.    Judge Murphy found that entry at 2411 Golden Valley Road,

Minneapolis, Minnesota 55411 without the announcement of authority or

purpose was not necessary.

      8.    In other words, Judge Murphy did not issue a “no-knock” search

warrant.




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      9.     In the afternoon on January 9, 2013, Plaintiff was asleep at his

home.

      10.    Plaintiff’s home was the downstairs unit at 2411 Golden Valley

Road, Minneapolis, Minnesota 55411.

      11.    Plaintiff was 17 years old at the time.

      12.    Plaintiff’s friends arrived at 2411 Golden Valley Road, Minneapolis,

Minnesota 55411 and woke up Plaintiff.

      13.    Immediately before Minneapolis police officers executed the search

warrant signed by Judge Murphy, Plaintiff was standing inside the front door

to the building at 2411 Golden Valley Road, Minneapolis, Minnesota 55411.

      14.    Plaintiff’s friends were waiting in the hallway of that building.

      15.    Plaintiff and his friends were not carrying weapons of any kind.

      16.    Several Minneapolis police officers with assault rifles broke open

the door behind which Plaintiff was standing, without the announcement of

authority or purpose.

      17.    When the officers broke open the door, the door trapped Plaintiff in

the corner of the hallway.

      18.    One of the Minneapolis police officers pointed a gun at Plaintiff and

told Plaintiff to “get down.”

      19.    Plaintiff informed the officer that he was trapped behind the door

and could not lie down.

      20.    As soon as Plaintiff had room to lie on the floor, he voluntarily

moved into a fully prone position.




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      21.   Officer Peter Stanton then stomped on the back of Plaintiff’s head

and the top of Plaintiff’s shoulder area approximately six times.

      22.   Plaintiff was subsequently handcuffed and left for several minutes

in a puddle of his own blood.

      23.   Plaintiff’s vision was blurry for the next 10 to 12 minutes.

      24.   Plaintiff asked for a paramedic.

      25.   Plaintiff remained handcuffed for approximately 30 to 45 minutes.

      26.   At approximately 6:00 p.m., Plaintiff was taken to the Hennepin

County Medical Center (“HCMC”).

      27.   Plaintiff was diagnosed with “facial abrasion,” “closed head injury,”

and “cervical strain.”

      28.   Plaintiff was instructed to wear a neck brace and take Ibuprofen

and Hydrocodone for pain.

      29.   Plaintiff took Hydrocodone for approximately two weeks and

Ibuprofen for approximately one month.

      30.   As a result of Plaintiff’s injuries caused by Peter Stanton on

January 9, 2013, Plaintiff saw Dr. Gentral L. Johnson, a Chiropractic

Physician, two or three times per week for the next several weeks.

      31.   On January 24, 2013 and February 6, 2013, Plaintiff returned to

HCMC due to the shoulder injury caused by Peter Stanton on January 9, 2013.

      32.   Plaintiff also lost at least one month’s worth of wages due to his

injuries caused by Peter Stanton on January 9, 2013.




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      33.   Plaintiff also suffered emotional distress caused by Peter Stanton’s

misconduct on January 9, 2013, for example experiencing nightmares caused

by the incident until at least June 2014.

      34.   Plaintiff was not charged with any crime related to the incident on

January 9, 2013.

      35.   On January 10, 2013, Plaintiff complained to the Internal Affairs

Division of the Minneapolis Police Department about the incident on January

9, 2013.

      36.   To the best of Plaintiff’s knowledge, however, absolutely nothing

happened as a result of his complaint to Internal Affairs.

                           COUNT I
DEPRIVATION OF CIVIL RIGHTS IN VIOLATION OF 42 U.S.C. § 1983 AND
 THE FOURTH AND FOURTEENTH AMENDMENTS – EXCESSIVE FORCE

      37.   Plaintiff restates the allegations contained in the preceding

paragraphs as though fully incorporated herein.

      38.   Peter Stanton used force against Plaintiff while effectuating a

seizure of him.

      39.   The amount of force Peter Stanton used while seizing Plaintiff was

unreasonable under the circumstances.

      40.   Peter Stanton was acting under color of state law when he used

unreasonable force in the process of seizing Plaintiff.

      41.   Defendants’ actions or omissions caused Plaintiff to suffer a

violation of his Fourth Amendment rights.




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       42.   At the time of the events giving rise to this action, a reasonable

officer would not think that stomping on a prone and compliant person was a

reasonable amount of force.

       43.   Plaintiff suffered harm as a result of Defendants’ violation of his

constitutional rights.

                            COUNT II
 DEPRIVATION OF CIVIL RIGHTS IN VIOLATION OF 42 U.S.C. § 1983 AND
  THE FOURTH AND FOURTEENTH AMENDMENTS – FALSE ARREST AND
                       UNLAWFUL SEIZURE

       44.   Plaintiff restates the allegations contained in the preceding

paragraphs as though fully incorporated herein.

       45.   Peter Stanton proximately caused Plaintiff’s detention and arrest.

       46.   Peter Stanton lacked a warrant authorizing him to arrest or detain

Plaintiff.

       47.   Peter Stanton lacked probable cause or reasonable suspicion to

arrest or detain Plaintiff.

       48.   Peter Stanton lacked a reasonable belief of probable cause or

reasonable suspicion to arrest or detain Plaintiff.

       49.   Peter Stanton was not otherwise authorized to arrest or detain

Plaintiff.

       50.   Peter Stanton was acting under color of state law when he caused

Plaintiff’s detention and arrest.

       51.   Defendants’ actions and omissions caused Plaintiff to suffer a

violation of his Fourth Amendment rights.




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      52.    At the time of Plaintiff’s arrest, it was clearly established that it

was unconstitutional detain and arrest someone absent probable cause or

reasonable suspicion.

      53.    Plaintiff suffered harm as a result of Defendants’ denial of his

constitutional rights.

                                     COUNT III
                                     ASSAULT

      54.    Plaintiff restates the allegations contained in the preceding

paragraphs as though fully incorporated herein.

      55.    Peter Stanton acted with the intent to cause apprehension or fear

of immediate offensive contact with Plaintiff.

      56.    Peter Stanton had the apparent ability to cause the offensive

contact.

      57.    Plaintiff had a reasonable apprehension of fear that the immediate

offensive contact would occur.

      58.    Peter Stanton’s assault caused Plaintiff to suffer harm.

                                     COUNT IV
                                     BATTERY

      59.    Plaintiff restates the preceding paragraphs as though fully stated

herein.

      60.    Peter Stanton caused harmful or offensive contact with Plaintiff.

      61.    Peter Stanton’s harmful or offensive contact with Plaintiff caused

Plaintiff to suffer harm.




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                                  COUNT V
                            FALSE IMPRISONMENT

      62.   Plaintiff restates the allegations contained in the preceding

paragraphs as though fully incorporated herein.

      63.   Peter Stanton intentionally restricted Plaintiff’s physical liberty by

words or acts.

      64.   Plaintiff was aware of Peter Stanton’s words or acts or was harmed

by them.

      65.   There was no reasonable means of escape known to Plaintiff.

      66.   Plaintiff’s arrest was made without proper legal authority.

      67.   Peter Stanton’s false imprisonment of Plaintiff caused Plaintiff to

suffer harm.

                                 COUNT VI
                           NEGLIGENT RETENTION

      68.   Plaintiff restates the preceding paragraphs as though fully stated

herein.

      69.   The City of Minneapolis, during the course of Peter Stanton’s

employment, became aware or should have become aware of problems with

Peter Stanton that indicated his unfitness.

      70.   The City of Minneapolis failed to take further action with regard to

Peter Stanton, such as investigation, discharge, or reassignment.

      71.   To the extent that the City of Minneapolis investigated problems

with Peter Stanton, it was negligent in the pace or adequacy of its investigation.




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      72.    The City of Minneapolis was also negligent in allowing Peter

Stanton to remain on patrol duty after learning of Plaintiff’s complaints.

      73.    The City’s negligent retention caused Plaintiff to suffer harm.

                                 COUNT VII
                           NEGLIGENT SUPERVISION

      74.    Plaintiff restates the preceding paragraphs as though fully stated

herein.

      75.    The City of Minneapolis failed to exercise ordinary care in

supervising the employment relationship with Peter Stanton, so as to prevent

his foreseeable misconduct from causing harm to third persons.

      76.    The encounter between Plaintiff and Peter Stanton occurred while

Peter Stanton was in uniform and on duty.

      77.    The City of Minneapolis did not exercise reasonable care in its

supervision of Peter Stanton, by allowing him to remain on patrol duty after

learning of Plaintiff’s complaint.

      78.    The City’s negligent supervision caused Plaintiff to suffer harm.

                                     JURY DEMAND

      79.    Plaintiff demands a jury trial.

                             REQUEST FOR RELIEF

      WHEREFORE, Plaintiff respectfully requests that the Court:

      1.     Enter judgment in Plaintiff’s favor on his claims against

             Defendants in an amount exceeding $50,000, the exact amount to

             be proven at trial;




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     2.   Declare that Defendants’ conduct, as set forth above, violated 42

          U.S.C. § 1983;

     3.   Award Plaintiff damages to compensate him for the injuries he

          suffered as a result of Defendants’ unlawful conduct;

     4.   Award Plaintiff punitive damages with respect to his claims under

          federal law, the exact amount to be proven at trial;

     5.   Award Plaintiff reasonable expenses incurred in this litigation,

          including attorney and expert fees, pursuant to 42 U.S.C. § 1988;

     6.   Grant Plaintiff all statutory relief to which he is entitled;

     7.   Grant Plaintiff leave to amend this Complaint to supplement any

          factual deficiencies or otherwise address any pleading deficiencies

          herein; and

     8.   Grant any other relief the Court deems just and equitable.


Dated: June 16, 2015                         s/Tim M. Phillips
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